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THE BOARDWAI_.K
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January 23, 2004

Via Facsimile

 

James S. Brady, Esq.

Miller, Johnson, Snell & Cummiskey, PLC
Calder Plaza Building

250 Monroe Avenue, NW, Suite 800
Grand Rapids, MI 49501-0308

Re: Ryan v McGinn-Loomis, et al.
Case No. 1:03-cv-439

Dear Jim:

As we have discussed, in proceeding with this matter, our goal is an approach
which (l) would allow us to satisfy the requirements of Fed. R. Civ. P. 26(b)(5), (2)
Would not unduly inconvenience counsel or the potential deponents, and (3) would allow
for the potential deponents effectively to assert their judicial privilege

We believe the common law of judicial privilege applies regarding the instant
deposition For example, in Reycraft v. McDonala’, 194 Mich. 500, 503; 160 N.W. 836
(1916), the Michigan Supreme Court stated the judicial privilege in broad terms (“‘We
are not disposed to narrow or abridge the right of a citizen to make even an oral

communications between client and lawyer, or patient and physician.’ We think
defendant’s [ex parte] communication to the probate judge in this case was equally a
matter of absolute privilege.”). Additionally, we believe that Canon 3A(6) of Michigan’s

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' KOERNKE & CRAMPTON PC

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James S. Brady, Esq.
Janual”y 23, 2004
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Code of Judicial Conduct precludes Judge Hillary from testifying regarding the topic
which you seek to explore with him.

After consulting with his Presiding Judge and with his counsel, Judge Hillary has
determined that Canon 3A(6) of Michigan’s Code of Judicial Conduct and the common

Judge Hillary has scheduled Circuit Court matters on his docket for 2:00 p.m. on
Tuesday, January 27. However, should you want to go forward with his deposition and
have him assert the privilege in response to your proposed questions, please call me and
we will make every effort to find a time late in the afternoon or early in the evening on
January 27 when Judge Hillary would be available If such a deposition is initiated,

Very truly yours,
KOERNKE & CRAMPTON PC

Thomas F. Koernke

TFK/mkm

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